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JU UNITED STATES DISTRICT COURT MARES Op pry

N2 9 2007 Northern District of California NET
450 Golden Gate Avenue STM oo a

RICHARD W. WIEKING San Francisco, California 94102 Pee ee OEM ID: cq

CLERK, U.S, DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA www.cand.uscourts.gov

Richard W. Wieking General Court Number: ast :
Clerk 415.522.2000 .
June 14, 2007

Alameda County Superior Court
1225 Fallon Street, Room 209
Oakland, CA 94612

RE: CV_07-02354 CRB MELINDA GALARSA-v-GALLETTI AND SONS INC ET AL
Your Case Number: (RG073 16544)
Dear Clerk,

Pursuant to an order remanding the above captioned case to your court, transmitted
herewith are:
(x) Certified copies of docket entries
(x) Certified copies of Remand Order
O Other

Please acknowledge receipt of the above documents on the attached copy of this letter.

Sincerely,
RICHARD W. WIEKING, Clerk

OMfrike J
by: Maria Loo

Case Systems Administrator

Enclosures
Copies to counsel of record

NDC TR-5 Rev. 7/92

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